                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )           No. 3:96-00008
                                                  )           JUDGE CAMPBELL
                                                  )
MICHAEL L. SIMS                                   )


                                              ORDER

       Pending before the Court is the Defendant’s Response To The Government Opposition

To “Early Termination Of Supervised Release” (Docket No. 388). Through the filing, the

Defendant supplements the arguments made in his Motion For An Order For Early Termination

Of Supervision (Docket No. 382). In an Order entered on February 13, 2014 (Docket No. 387),

the Court denied the Defendant’s Motion.

       The Court has fully considered the arguments set forth in Defendant’s Response (Docket

No. 388), but is not persuaded that its prior order was in error.

       It is so ORDERED.



                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




 Case 3:96-cr-00008         Document 389         Filed 02/18/14     Page 1 of 1 PageID #: 275
